        Case 1:19-cv-00172-SRW Document 17 Filed 07/17/19 Page 1 of 1



                 IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

BENNIE NOWELL, et al.,                             )
d/b/a NOWELL FARMS,                                )
                                                   )
       Plaintiffs,                                 )
                                                   )
v.                                                 )    CASE NO. 1:19-cv-172-SRW
                                                   )
GEORGE ERVIN “SONNY” PERDUE, III,                  )
et al.,                                            )
                                                   )
              Defendants.                          )

                                          ORDER

       This matter is before the court on plaintiffs’ amended notice of voluntary dismissal

(Doc. 16), which is filed pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i). Upon

consideration of the same, it is hereby

       ORDERED that the Clerk of Court is DIRECTED to close this case.

       Done, on this the 17th day of July, 2019.

                                                        /s/ Susan Russ Walker
                                                        Susan Russ Walker
                                                        United States Magistrate Judge
